                             UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF ARIZONA
                                               Minute Entry
Hearing Information:
                Debtor:    POTENTIAL DYNAMIX, LLC
          Case Number:     2:11-BK-28944-DPC      Chapter: 11

     Date / Time / Room:   FRIDAY, FEBRUARY 19, 2021 09:00 AM 6TH FLOOR #603
    Bankruptcy Judge:      DANIEL P. COLLINS
      Courtroom Clerk:     RENEE BRYANT
       Reporter / ECR:     N/A                                                              0

Matter:
       ADV: 2-13-00799
       TIMOTHY SHAFFER & Amazon Services LLC vs Amazon Services LLC & TIMOTHY SHAFFER
       CONTINUED TRIAL
       R / M #: 0 / 0


Appearances:
     DALE C. SCHIAN, ATTORNEY FOR TIMOTHY SHAFFER
     MARK C. DANGERFIELD, ATTORNEY FOR TIMOTHY SHAFFER
     KEN RALSTON, ATTORNEY FOR TIMOTHY SHAFFER
     ERIC J. WEISS, ATTOREY FOR ASMAZON SERVICES LLC
     MALLORY GITT WEBSTER, ATTORNEY FOR AMAZON SERVICES, LLC
     TASHA BACHAND, AMAZON CORPORATE REPRESENTATIVE, WITNESS
     EDMUND WEIANT WILLIAMS, WITNESS




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                                    FOR THE DISTRICT OF ARIZONA
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Proceedings:                                                                                                 0

       The parties discuss some housekeeping matters.

       EXHIBITS ADMITTED: Trustee's Exhibits 119 and 154. Amazon's Exhibits 222, 229, 234, 240, 243, 262, 203,
       204, 205, 206, 207, 210, 211, 212, 213, 214, 215, 217, 218, 221, 223, 224, 226, 227, 230, 264, and 261.

       Ms. Bachand is called back to the stand, and she is reminded she is still under oath.

       Mr. Schian continues with his cross-examination of Tasha Bachand.

       Mr. Schian notes a confidentially issue with Exhibit 150. He asks Mr. Weiss to confirm it is okay to display. Mr.
       Weiss asks that the parties discuss this exhibit over lunch.

       The Court asks the parties to discuss exhibit 150 over lunch.

       The Court is afforded a recess.

       Mr. Schian reports the parties have determined the exhibit will not be offered. The parties discuss the exhibit.

       Mr. Schian continues with his cross-examination.

       Mr. Weiss has no questions for the witness.

       The witness Tasha Bachand is excused.

       Mr. Weiss calls Edmund Weiant Williams to the stand.

       The witness, Edmund Weiant Williams, was sworn in. Mr. Weiss questioned the witness. Mr. Dangerfield
       cross-examines the witness. The Court questioned the witness. Mr. Weiss has no additional questions for the
       witness.

       The Court and the parties discuss briefing and closing arguments.

       COURT: IT IS ORDERED SETTING A HEARING FOR CLOSING ARGUMENTS ON FEBRUARY 24, 2021, AT 9:00 AM.
       IT IS ORDERED ESTABLISHING MARCH 12, 2021, AS THE DEADLINE FOR THE TRUSTEE TO FILE THEIR BRIEF.
       IT IS ORDERED ESTABLISHING APRIL 2, 2021, AS THE DEADLINE FOR AMAZON TO FILE THEIR RESPONSE. IT
       IS ORDERED ESTABLISHING APRIL 14, 2021, AS THE DEADLINE FOR THE TRUSTEE TO FILE THEIR REPLY. IT
       IS ORDERED SETTING A HEARING FOR POST-TRIAL BRIEFING ON APRIL 19, 2021, AT 10:00 A.M.

       FOR ALL MATTERS SET FOR HEARING ON APRIL 19, 202, AT 10:00 AM, PARTIES ARE DIRECTED TO
       APPEAR BY VIDEO CONFERENCE USING THE FOLLOWING ZOOM LINK:

       ZOOM <h
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                                                                                               HlKZ1IwZz09>

       Meeting ID: 1610604287

       Passcode: 262180

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       THE COURT EXPECTS ALL PARTIES TO APPEAR BY VIDEO. IF A VIDEO CONNECTION IS NOT
       POSSIBLE, PARTIES MAY APPEAR VIA AUDIO ONLY BY CALLING 877-873-8018, ACCESS CODE
       7217155.




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 Case No:
            11-28944-DPC                                 Adv. No.
                                                                    13-0799-DPC

 Case Name: Potential          Dynamix, LLC
 Date of Trial:   2/17/21
   Exhibit                                Description                       Admitted
 247              Settlement Report Txt File                               2/17
 248              Settlement Report Txt File                               2/17

 249              Settlement Report Txt File                               2/17
 250              Settlement Report Txt File                               2/17

 251              Settlement Report Txt File                               2/17
 252              Settlement Report Txt File                               2/17




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 Case No:   11-28944-DPC                                 Adv. No.
                                                                    13-00799-DPC


 Case Name: Potential          Dynamix, llc
 Date of Trial:   2/18/21
   Exhibit                                Description                        Admitted
 131              May 2015 Data Production by Amazon                       2/18
 161              Settlement data files                                     2/18

 263                                                                        2/18
 245              Auto Unsellable Removal Setting Screenshot                2/18




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                                             EXHIBIT LIST

 Case No:   11-28944-DPC                                     Adv. No.
                                                                        13-00799-DPC


 Case Name: Potential          Dynamix, LLC
 Date of Trial:   2/19/21
   Exhibit                                Description                     Admitted
 119              Second Supplemental Disclosure Statement Pursuant to Fe    
 222              3/12/13 Disclosure Statement                                         
 229              5/7/13 Notice of Filing Chapter 11 Trustee's Report                  

 234              3/13/18 Cone Retention Letter                                         

                  8/10/18 Goldberg Email Re: Monthly Operating Reports for             
 240
 243              5/9/19 Ashworth Email Re: Settlement Report Question                 
 262                                                                                   
 203              12/14/10 Reilly Email Re: Listing Errors                             
 204              1/13/11 Soder Email Re: 404 SKU's                                    
 205              1/14/11 Azzarelli Email Re: Further Sku Miscreation                   
 206              1/21/11 Reilly Email Re: .missing SKUs                                 
 207              7/15/11 Reilly Email Re:                                               

 210              5/8/12 Lawcock Email Re: Case 58103781                                 
 211              8/14/12 Bellino Email Re: Important: Fulfillment by Amazon             
 212              8/22/12 Bellino Email Re: Your Amazon.com Inventory                    
 213              9/6/12 Bellino Email Re: Your Amazon.com Inventory                     
 214              12/10/12 Bellino Email Re: Full Audit Amazon                           
 215              FBA Inventory Overview 2008, 2009, 2010, 2011 Spreadsh                 
 217              12/20/12 Lawcock Email Re: 2012 Audit Up to December 1                 
 218              1/2/13 Lawcock Email Re: DAB Update 2013                               

 221              2/13/13 DAB Email Re: Important: Fulfillment by Amazon D                




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 Case No:   11-28944-DPC                                  Adv. No.
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 Case Name: Potential         Dynamix, LLC
 Date of Trial:   2/19/21
   Exhibit                               Description                          Admitted
 223              3/13/13 Lawcock Email Re: FBA Inventory Summaries         2/19
 224              FBA Inventory Overview 2008, 2009, 2010, 2011 Spreadsh 2/19

 226              4/23/13 Bellino Email Re: Revenues, Actual and Projected, 2/19
 227              Revenues 2013 Spreadsheet PDF                              2/19

 230              7/9/13 Azzarelli Email Re: Aged Inventory Project Summer 2/19
 264                                                                         2/19

 261              ACQAIAI Inventory Adjustment Item Document                 2/19
 154              Amazon diagram of FBA reimbursement                        2/19




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